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14
                  IN THE UNITED STATES DISTRICT COURT
15
                FOR THE WESTERN DISTRICT OF WASHINGTON
16

17
                                     AT SEATTLE

18

19   PARLER LLC,
20                                                No. ______________________
                           Plaintiff,
21
                 v.
22

23   AMAZON WEB SERVICES, INC.,
                                                  VERIFIED COMPLAINT
24

25                          Defendant          (JURY DEMAND REQUESTED)
26

27

28

29

30

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1          Plaintiff Parler LLC (“Parler”), by its undersigned counsel, alleges, and by
2
     its Chief Operating Officer, verifies, as follows:
3

4                               NATURE OF THE ACTION

5
           1.       This is a civil action for injunctive relief, including a temporary
6
     restraining order and preliminary injunctive relief, and damages. Last Month,
7

8    Defendant Amazon Web Services, Inc. (“AWS”) and the popular social media
9
     platform Twitter signed a multi-year deal so that AWS could support the daily
10

11   delivery of millions of tweets. AWS currently provides that same service to Parler,
12
     a conservative microblogging alternative and competitor to Twitter.
13

14         2.       When Twitter announced two evenings ago that it was permanently
15
     banning President Trump from its platform, conservative users began to flee
16

17   Twitter en masse for Parler. The exodus was so large that the next day, yesterday,
18
     Parler became the number one free app downloaded from Apple’s App Store.
19

20
           3.       Yet last evening, AWS announced that it would suspend Parler’s

21   account effective Sunday, January 10th, at 11:59 PM PST. And it stated the reason
22
     for the suspension was that AWS was not confident Parler could properly police its
23

24   platform regarding content that encourages or incites violence against others.
25
     However, Friday night one of the top trending tweets on Twitter was “Hang Mike
26

27   Pence.” But AWS has no plans nor has it made any threats to suspend Twitter’s
28
     account.
29

30

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1          4.       AWS’s decision to effectively terminate Parler’s account is apparently
2
     motivated by political animus. It is also apparently designed to reduce competition
3

4    in the microblogging services market to the benefit of Twitter.

5
           5.       Thus, AWS is violating Section 1 of the Sherman Antitrust Act in
6
     combination with Defendant Twitter. AWS is also breaching it contract with
7

8    Parler, which requires AWS to provide Parler with a thirty-day notice before
9
     terminating service, rather than the less than thirty-hour notice AWS actually
10

11   provided. Finally, AWS is committing intentional interference with prospective
12
     economic advantage given the millions of users expected to sign up in the near
13

14   future.
15
           6.       This emergency suit seeks a Temporary Restraining Order against
16

17   Defendant Amazon Web Services to prevent it from shutting down Parler’s account
18
     at the end of today. Doing so is the equivalent of pulling the plug on a hospital
19

20
     patient on life support. It will kill Parler’s business—at the very time it is set to

21   skyrocket.
22
                               JURISDICTION AND VENUE
23

24         7.       This Court has subject matter jurisdiction over Parler’s federal
25
     antitrust claims under 28 U.S.C. §§ 1331 and 1337, as well as under 15 U.S.C. §
26

27   26. The Court has supplemental jurisdiction over Parler’s state law claims under
28
     28 U.S.C. § 1367.
29

30

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1           8.       This Court has personal jurisdiction over AWS as it is headquartered
2
     in the District. Also, AWS has engaged in sufficient minimum contacts with the
3

4    United States and has purposefully availed itself of the benefits and protections of

5
     both United States and Washington law such that exercise of jurisdiction over AWS
6
     would comport with due process requirements.
7

8           9.       Venue lies in this District under 28 U.S.C. § 1391(b) because AWS
9
     maintains its principal place of business in the State of Washington and in this
10

11   District, and because a substantial part of the events giving rise to Parler’s claims
12
     occurred in this District. Personal jurisdiction and venue may also be deemed
13

14   proper under 15 U.S.C. § 22, because AWS may be found in or transacts business
15
     in this District.
16

17                                          PARTIES
18
            10.      Plaintiff Parler LLC is a Nevada limited liability corporation with its
19

20
     principal place of business in Henderson, Nevada. Parler is “the solution to

21   problems that have surfaced in recent years due to changes in Big Tech policy
22
     influenced      by       various   special-interest    groups.”     Our          Company,
23

24   https://company.parler.com. Thus, “Parler is built upon a foundation of respect for
25
     privacy and personal data, free speech, free markets, and ethical, transparent
26

27   corporate policy.” Id.
28

29

30

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1           11.    Defendant Amazon Web Services, Inc., an Amazon.com, Inc.
2
     company, is a Delaware corporation with its principal place of business in Seattle,
3

4    Washington. AWS is the world’s leading cloud service providers, capturing a third

5
     of the global market. See Global Cloud Infrastructure Market Q3 2020,
6
     https://www.canalys.com/newsroom/worldwide-cloud-market-q320. This is almost
7

8    double the next largest competitor, and equal to the next three largest competitors
9
     combined. Id. AWS generates tens of billions of dollars in revenue annually. Id.
10

11          12.    According to its own press release, “[f]or 14 years, [AWS] has been the
12
     world’s most comprehensive and broadly adopted cloud platform.” Twitter Selects
13

14   AWS as Strategic Provider to Serve Timelines, Press Center, Amazon, (Dec. 15,
15
     2020), https://press.aboutamazon.com/news-releases/news-release-details/twitter-
16

17   selects-aws-strategic-provider-serve-timelines.   That    is   why       “[m]illions              of
18
     customers—including the fastest-growing startups, largest enterprises, and leading
19

20
     government agencies—trust AWS to power their infrastructure, become more agile,

21   and lower costs.” Id. In short, AWS is the Rolls Royce of cloud platform providers.
22
                                           FACTS
23

24
            13.    Parler contracts with AWS to provide the cloud computing services
25

26   Parler needs for its apps and website to function on the internet. Further, that both
27
     the apps and the website are written to work with AWS’s technology. To have to
28

29   switch to a different service provider would require rewriting that code, meaning
30

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1    Parler will be offline for a financially devastating period.
2

3            14.   Parler is also a competitor of Twitter as both provide a similar
4
     platform for users to communicate with short messages, links, and pictures. Like
5

6
     many social media platforms, Parler’s business model is not based on subscription

7    fees.
8

9            15.   Less than a month ago, AWS announced with a press release a new
10
     multi-year deal with Twitter. AWS will “provide global cloud infrastructure to
11

12   deliver Twitter timelines.” Twitter Selects AWS as Strategic Provider to Serve
13
     Timelines,       Press       Center,        Amazon,        (Dec.        15,              2020),
14

15   https://press.aboutamazon.com/news-releases/news-release-details/twitter-
16
     selects-aws-strategic-provider-serve-timelines.
17

18
             16.   According to the deal, “Twitter will leverage AWS’s proven
19

20
     infrastructure and portfolio of services to support delivery of millions of daily

21   Tweets.” Id. Further, “[t]his expansion onto AWS marks the first time that Twitter
22
     is leveraging the public cloud to scale their real-time service.” Id. This deal “buil[t]
23

24   on the companies’ more than decade-long collaboration, where AWS continues to
25
     provide Twitter with storage, compute, database, and content delivery services to
26

27   support its distribution of images, videos and ad content.” Id. What is more,
28
     together “Twitter and AWS will create an architecture that extends Twitter’s on-
29

30

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1    premises infrastructure to enable them to seamlessly run and scale the real-time
2
     service globally, increase its reliability . . ., and rapidly move new features into
3

4    production around the world.” Id.

5
            17.   At the same time, Parler began to significantly increase its usership
6
     at the expense of Twitter. After the election in November, the New York Times
7

8    reported that “millions have migrated to alternative social media and media sites
9
     like Parler . . . .” Mike Isaac & Kellen Browning, Fact-Checked on Facebook and
10

11   Twitter, Some Conservatives Switch Their Apps, NY Times (Nov. 18, 2020),
12
     https://www.nytimes.com/2020/11/11/technology/parler-rumble-newsmax.html. In
13

14   fact, less than a week after Election Day, between November 3rd and November
15
     8th, Parler’s app experienced nearly one million downloads. See Parler, A
16

17   Conservative Twitter Clone, Has Seen Nearly 1 Million Downloads Since Election
18
     Day,           The            Verge             (Nov.           9,                    2020),
19

20
     https://www.theverge.com/2020/11/9/21557219/parler-conservative-app-download-

21   new-users-moderation-bias. This resulted in Parler rocketing to be “the #1 free app
22
     in the iOS App Store, up from #1,023” just a week earlier. Id. Likewise, in that
23

24   same week the Parler app went from 486th to 1st in the Google Play rankings. Id.
25
     Not surprisingly, “the app was the 10th most downloaded social media app in 2020
26

27   with 8.1 million new installs.” Jonathan Schieber, Parler Jumps to No. 1 on App
28
     Store after Facebook and Twitter Ban Trump, TechCrunch (Jan. 9, 2021),
29

30

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1    https://techcrunch.com/2021/01/09/parler-jumps-to-no-1-on-app-store-after-
2
     facebook-and-twitter-bans/.
3

4          18.    In 2021, this trend not only continued, it accelerated, thanks to

5
     Twitter’s announcement two days ago that it would permanently ban President
6
     Trump from its platform. Id. On that day, last Friday, Parler saw installs increase
7

8    in the United States by 355%. Id. After Twitter’s announcement, conservative
9
     politicians and media figures began encouraging their followers to switch to Parler.
10

11   See Yelena Dzhanova, Top Conservative Figures are Tweeting to Advertise their
12
     Parler Accounts After Trump was Permanently Banned from Twitter, Business
13

14   Insider (Jan. 9, 2021), https://www.businessinsider.com/top-conservatives-moving-
15
     to-parler-after-trumps-ban-from-twitter-2021-1. See also Joseph A. Wulfsohn,
16

17   Conservatives Flee to Parler Following Twitter’s Permanent Suspension of Trump,
18
     Fox News (Jan. 9, 2021), https://www.foxnews.com/media/conservatives-join-
19

20
     parler-twitter-trump-ban.

21         19.    Speculation began to mount that President Trump would likewise
22
     move to Parler. Id. Given the close to 90 million followers the President had on
23

24   Twitter, this would be an astronomical boon to Parley and a heavy blow to Twitter.
25
     See Donald J. Trump (@realDonaldTrump) Twitter Statistics, Socialbakers,
26

27   https://www.socialbakers.com/statistics/twitter/profiles/detail/25073877-
28
     realdonaldtrump.
29

30

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1          20.      Given the context of Parler’s looming threat to Twitter and the fact
2
     that the Twitter ban might not long muzzle the President if he switched to Parler,
3

4    potentially bringing tens of millions of followers with him, AWS moved to shut

5
     down Parler. See id.
6
           21.      Yesterday evening, at 6:07 pm PST, web news site BuzzFeed posted
7

8    an article with screenshots of a letter from AWS to Parler, informing Parler that
9
     its account would be suspended at 11:59 pm PST on Sunday, less than thirty hours
10

11   later. See John Paczkowski, Amazon Is Booting Parler Off of Its Web Hosting
12
     Service,               BuzzFeed             (Jan.             9,                       2021),
13

14   https://www.buzzfeednews.com/article/johnpaczkowski/amazon-parler-aws.
15
     Strangely, the article with the letter was posted before Parler itself received the
16

17   letter in an email, received at 7:19 pm PST, over an hour after the BuzzFeed article
18
     went online, meaning AWS leaked the letter to BuzzFeed before sending it to
19

20
     Parler. See Exhibit A.

21         22.      Last evening, the Associated Press reported that “Parler may be the
22
     leading candidate” for President Trump after his Twitter ban as “[e]xperts had
23

24   predicted Trump might pop up on Parler . . . .”). Frank Bajak, Squelched by Twitter,
25
     Trump Seeks New Online Megaphone, Associated Press (Jan. 9, 2021),
26

27   https://apnews.com/article/donald-trump-politics-media-social-media-coronavirus-
28
     pandemic-f5b565ca93a792640211e6438f2db842. However, the AP also observed
29

30

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1    that “Amazon struck [a] blow Saturday [against the chances of Trump adopting
2
     the platform], informing Parler it would need to look for a new web-hosting service
3

4    effective midnight Sunday.” Id.

5
             23.     This death blow by AWS could not come at a worse time for Parler—
6
     a time when the company is surging with the potential of even more explosive
7

8    growth in the next few days. Worse than the timing is the result—Parler has tried
9
     to find alternative companies to host it and they have fallen through. It has no
10

11   other options. Without AWS, Parler is finished as it has no way to get online. And
12
     a delay of granting this TRO by even one day could also sound Parler’s death knell
13

14   as President Trump and others move on to other platforms.1 It is no wonder, then,
15
     that competitor Twitter’s CEO has heartily endorsed efforts to remove Parler from
16

17   the public sphere. See Kevin Shalvey, Parler’s CEO John Matze Responded Angrily
18
     After Jack Dorsey Endorsed Apple’s Removal of the Social Network Favored by
19

20
     Conservatives,             Busines             Insider           (Jan.           10,                 2021),

21   https://www.businessinsider.com/parler-john-matze-responded-angrily-jack-
22
     dorsey-apple-ban-2021-1.
23

24

25

26
     1 AWS indefinitely suspending Parler’s account is categorically different than Google or Apple
27
     dropping Parler from their app stores. In the instance of the latter, existing Parler users can still use
28   its app—it’s just harder for Parler to sign up new users. But with AWS’s move, both existing users
     and new users are completely prevented from using the app until Parler can find some other service
29   to replace AWS. Users are also prevented from using Parler’s website, which is likewise dependent
     upon AWS.
30

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1          24.    Parler’s rival social media apps, such as conservative-oriented Gab or
2
     conservative media Rumble, are also experiencing record growth right now. See
3

4    Isaac & Browning, Fact-checked on Facebook and Twitter, supra. If Parler is not

5
     available, people will turn to alternatives, or perhaps return to Twitter or
6
     Facebook. What is more, Parler’s current users are likely to leave and go to another
7

8    platform if Parler is down for an indefinite period. And once those users have begun
9
     to use another platform, they may not return to Parler once it’s back online.
10

11         25.    And by silencing Parler, AWS silences the millions of Parler users
12
     who do not feel their free speech is protected by Twitter or other social media apps.
13

14         26.    What is more, by pulling the plug on Parler but leaving Twitter alone
15
     despite identical conduct by users on both sites, AWS reveals that its expressed
16

17   reasons for suspending Parler’s account are but pretext. In its note announcing the
18
     pending termination of Parler’s service, AWS alleged that “[o]ver the past several
19

20
     weeks, we’ve reported 98 examples to Parler of posts that clearly encourage and

21   incite violence.” Exhibit A. AWS provide a few examples, including one that stated,
22
     “How bout make them hang?”, followed by a series of hashtags, including “#fu--
23

24   mikepence.” Id.
25
           27.    AWS further stated to Parler that the “violent content on your website
26

27   . . . violates our terms.” Id. Because, AWS declared, “we cannot provide services to
28
     a customer that is unable to effectively identify and remove content that
29

30

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1    encourages or incites violence against others,” AWS announced the pending
2
     termination of Parler’s account. Id.
3

4          28.    However, the day before, on Friday, one of the top trends on Twitter

5
     was “Hang Mike Pence,” with over 14,000 tweets. See Peter Aitken, ‘Hang Mike
6
     Pence’ Trends on Twitter After Platform Suspends Trump for Risk of ‘Incitement of
7

8    Violence’, Fox News (Jan. 9, 2021), https://www.foxnews.com/politics/twitter-
9
     trending-hang-mike-pence. And earlier last week, a Los Angeles Times columnist
10

11   observed that Twitter and other social media platforms are partly culpable for the
12
     Capital Hill riot, by allowing rioters to communicate and rile each other up. See
13

14   Erika D. Smith, How Twitter, Facebook are Partly Culpable for Trump DC Riot,
15
     LA Times (Jan. 6, 2021), https://www.latimes.com/california/story/2021-01-06/how-
16

17   twitter-facebook-partly-culpable-trump-dc-riot-capitol. Yet these equivalent, if not
18
     greater, violations of AWS’s terms of service by Twitter have apparently been
19

20
     ignored by AWS.

21         29.    AWS knew its allegations contained in the letter it leaked to the press
22
     that Parler was not able to find and remove content that encouraged violence was
23

24   false—because over the last few days Parler had removed everything AWS had
25
     brought to its attention and more. Yet AWS sought to defame Parler nonetheless.
26

27   And because of AWS false claims, leaked to the public, Parler has not only lost
28
     current and future customers, but Parler has also been unable to find an
29

30

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1    alternative web hosting company. In short, AWS false claims have made Parler a
2
     pariah.
3

4                              Count One: Sherman Act, Section 1

5         AWS is prohibited from contracting or conspiring to restrain trade or
6                                     commerce.
7
              30.     Parler restates, re-alleges, and incorporates by reference each of the
8

9    allegations set forth in the rest of this Complaint as if fully set forth herein.
10
              31.     Section 1 of the Sherman Act prohibits “[e]very contract, combination
11

12
     in the form of trust or otherwise, or conspiracy, in restraint of trade or commerce .

13   . .” 15 U.S.C. § 1. “To state a claim under Section 1, a plaintiff must allege facts
14
     that, if true, will prove: (1) the existence of a conspiracy, (2) intention on the part
15

16   of     the     co-conspirators   to   restrain   trade,   and   (3)   actual       injury           to
17
     competition.” Coalition For ICANN Transparency, Inc. v. VeriSign, Inc., 611 F.3d
18

19   495, 501-02 (9th Cir. 2010).
20
              32.     Less than a month ago, AWS and Parler’s competitor, Twitter,
21

22   entered into a multi-year deal. Late Friday evening, Twitter banned President
23
     Trump from using its platform, thereby driving enormous numbers of its users to
24

25
     Parler. Twenty-four hours later, AWS announced it would indefinitely suspend

26   Parler’s account.
27
              33.     AWS’s reasons for doing so are not consistent with its treatment of
28

29   Twitter, indicating a desire to harm Parler.
30

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1          34.     By suspending Parler’s account, AWS will remove from the market a
2
     surging player, severely restraining commerce in the microblogging services
3

4    market.

5
           35. AWS’s actions violate the Sherman Act, 5 U.S.C. § 1.
6
           36. Parler is entitled to injunctive relief.
7

8                             Count Two: Breach of Contract
9
        AWS breached its contract with Parler by not providing thirty days’
10                   notice before terminating its account.
11
           37. Parler restates, re-alleges, and incorporates by reference each of the
12

13   allegations set forth in the rest of this Complaint as if fully set forth herein.
14
           38. Under Washington law, “[a] breach of contract is actionable only if the
15

16   contract imposes a duty, the duty is breached, and the breach proximately causes
17
     damage to the claimant.” See Northwest Independent Forest Mfrs. v. Dept. of Labor
18

19   and Industries, 78 Wn. App. 707, 712, 899 P.2d 6 (1995).
20
           39. The AWS Customer Agreement with Parler allows either party to
21

22
     terminate the agreement “for cause if the other party is in material breach of this

23   Agreement and the material breach remains uncured for a period of 30 days from
24
     receipt of notice by the other party.” Exhibit B.
25

26         40. On January 8, 2021, AWS brought concerns to Parler about user
27
     content that encouraged violence. Parler addressed them, and then AWS said it
28

29   was “okay” with Parler.
30

31                                                                          David J. Groesbeck, P.S.
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1          41. The next day, January 9, 2021, AWS brought more “bad” content to
2
     Parler and Parler took down all of that content by the evening.
3

4          42. Thus, there was no uncured material breach of the Agreement for 30

5
     days, as required for termination.
6
           43. Further, while AWS used the term “suspension” in its notice to Parler,
7

8    it stated that it would “ensure that all of your data is preserved for you to migrate
9
     to your own servers, and will work with you as best as we can to help your
10

11   migration.” Exhibit A. This is not action AWS would take for a temporary
12
     suspension, but rather for a permanent termination. Thus, whatever words AWS
13

14   used, it was terminating the Agreement with Parler.
15
           44. This termination will immediately make it impossible for Parler to have
16

17   an online presence for at least a week, depriving Parler’s current users of any use
18
     of the app and website, and completely preventing any new users from
19

20
     downloading and using the app, or the website.

21         45. Thus, AWS will have breached its contract with and harmed Parler.
22
     Further, lost future profits in this case are difficult to calculate due to the rapidly
23

24   increasing nature of Parler’s user base. That’s because “[t]he usual method for
25
     proving lost profits is to establish profit history.” Tiegs v. Watts, 135 Wash.2d 1
26

27   (1998). But that history will, at best, undervalue the future given how quickly
28
     Parler is growing. And at worst, Parler will get nothing as “[l]ost profits cannot be
29

30

31                                                                         David J. Groesbeck, P.S.
       VERIFIED COMPLAINT - 15                                             Attorney and Counselor
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1    recovered where they are speculative, uncertain and conjectural” because “[t]he
2
     amount of lost profits must be established with reasonable certainty.” Id. Thus,
3

4    money damages may not be available, but at the least are insufficient to make

5
     Parler whole.
6
           46. Parler is entitled to injunctive relief.
7

8         Count Three: Tortious Interference with a Contract or Business
9                                  Expectancy
10
      By terminating Parler’s account, AWS will intentionally interfere with
11     the contracts Parler has with millions of its present users, as well as
12
                 with the users it is projected to gain this week.

13         47. Parler restates, re-alleges, and incorporates by reference each of the
14
     allegations set forth in the rest of this Complaint as if fully set forth herein.
15

16         48. In Washington, “[t]he elements of tortious interference with a contract
17
     or expectancy are: (1) the existence of a valid contractual relationship or business
18

19   expectancy; (2) the defendant’s knowledge of that relationship; (3) an intentional
20
     interference inducing or causing a breach or termination of the relationship or
21

22   expectancy; (4) the defendant's interference for an improper purpose or by
23
     improper means; and (5) resulting damage.” Koch v. Mutual of Enumclaw Ins. Co.,
24

25
     108 Wn. App. 500, 506, 31 P.3d 698 (2001).

26         49. Parler currently has over 12 million users under contract. It expects to
27
     add millions more this week given its growth the last few days and the growing
28

29   voice of conservatives encouraging their Twitter followers to switch to Parler.
30

31                                                                          David J. Groesbeck, P.S.
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            Case 2:21-cv-00031-BJR Document 1 Filed 01/11/21 Page 17 of 19




1          50. AWS is aware of Parler’s user numbers and current trends. AWS also
2
     knew that Parler was negotiating with it to increase its server capacity given this
3

4    ongoing and expected growth. AWS also knew of public speculation that Trump,

5
     with his nearly 90 million Twitter followers, was going to switch to Parler, likely
6
     bringing many of those followers with him. Finally, AWS also knew from public
7

8    statements that Parler was about to go to the market to raise money.
9
           51. AWS intentionally will interfere with Parler’s current contracts and
10

11   future expected customer relationships by terminating Parler’s Agreement with it
12
     under the pretext that Parler was in violation of that contract when AWS knew
13

14   Parler was not in violation (and when Twitter was engaging in identical conduct
15
     but AWS did not terminate its contract with Twitter).
16

17         52. Parler will be severely damaged financially and reputationally if it
18
     must go offline Sunday at midnight because AWS terminates Parler’s account. As
19

20
     noted above, given the speculative nature of Parler’s financial and reputational

21   damages, money damages will not make it whole.
22
           53. Therefore, Parler is entitled to injunctive relief.
23

24                               PRAYER FOR RELIEF
25

26      Plaintiff respectfully requests that the Court:
27
        A. Grant Parler’s motion for a Temporary Restraining Order and order AWS to
28

29   maintain Parler’s account until further notice from this Court, and to refrain from
30

31                                                                      David J. Groesbeck, P.S.
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             Case 2:21-cv-00031-BJR Document 1 Filed 01/11/21 Page 18 of 19




1    suspending, terminating or failing to provide any services previously provided
2
     under Parler’s customer agreement with AWS.
3

4       B. Grant Parler damages, including trebled damages, in an amount to be

5
     determined at trial.
6
        C. Grant Parler such other relief as the Court deems just and proper.
7

8

9
           ///
10

11         ///
12
           ///
13

14         ///
15

16

17         Dated: January 10, 2021.

18
                                      Respectfully submitted,
19

20
                                      /s David J. Groesbeck
21                                    WSBA No. 24749
22
                                      DAVID J. GROESBECK, P.S.
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23                                    Olympia, WA 98501
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26                                    621 W. Mallon Ave., Suite 507
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28                                    Counsel for Plaintiff
29

30

31                                                                      David J. Groesbeck, P.S.
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                                 VERIFICATION

      I, John Matze, say that I am the Chief Executive Officer of Parler LLC in the

case captioned Parler LLC v. Amazon Web Services, Inc., in the U.S. District Court

for the Western District of Washington, and have authorized the filing of this

complaint. I have reviewed the allegations made in the complaint, and to those

allegations of which I have personal knowledge, I know them to be true. As to those

allegations of which I do not have personal knowledge, I believe them to be true.

Dated: January 10, 2021

                                Verified by:

                                John Matze
                                Chief Executive Officer, Parler LLC
